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                                                                                              STEVEN M. LARIMO RE
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                                                                                               S.D. OF FLA -MIPMI
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.    18-20953-CR-COOKE/GOODMAN
                                           18 u.s.c. § 241
                                           18 u.s.c. § 242
                                           18 u.s.c. § 1001




      UNITED STATES OF AMERICA,

      v.

      TERRANCE REYNOLDS,

                     Defendant.
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      - - -- -- - - - - --
                                                 INDICTMENT

             The Grand Jury charges that:

                                         GENERAL ALLEGATIONS

             At all times relevant to this Indictment:

              1.     The Florida Department of Corrections (hereinafter " FDOC") was a department

      within the State of Florida responsible for operating and overseeing approximately one hundred

      and forty (140) correctional facilities.

             2.      The South Florida Reception Center (hereinafter "SFRC") was a prison facility

      operated by the FDOC and located in Miami-Dade County, Florida, in the Southern District of

      Florida.

             3.      Inmates incarcerated in the FDOC may be classified as Youthful Offenders by a
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      court if the crime for which they are being sentenced to incarceration was committed prior to their




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  twenty-first birthday. Inmates may also be classified as Youthful Offenders by the FDOC if they

  are twenty-four years old or younger.

         4.      SFRC incarcerated inmates in several separate buildings, commonly referred to as

  dormitories. The B-Dormitory, also known as "Bravo" Dormitory, was composed of three quads

  - Quads One, Two, and Three - and was designated to house only Youthful Offender inmates in

  order to protect them from adult inmates incarcerated at SFRC. Video security cameras were

  located inside the common area of Quad One of Bravo Dormitory.

         5.      A room with a locked door located on the outside wall of Quad One was used to

  store push brooms, mops, and other cleaning equipment. This room, also known as the "mop

  closet," was not equipped with, or within view of, video security cameras.

         6.      The E-Dormitory at SFRC, also known as "Echo" Dormitory, is used to place

  inmates in solitary confinement. Correctional officers, with supervisory approval, place inmates

  in confinement as a means of punishment for misbehavior, such as being disruptive or disrespectful

  to correctional officers. Along the outside wall of Echo Dormitory was a room known as the

  "disciplinary review" ("D.R.") room. The D.R. room was not equipped with, or within view of,

  video security cameras.

         7.      Brendan Butler was employed by the FDOC as a Sergeant at SFRC.                  His

  responsibilities included being a member of the Security 9 team, a small unit whose members were

  not assigned to work in a particular dormitory but instead provided internal security and performed

  other functions in the common areas of SFRC, including the recreational area and the cafeteria.

         8.      TERRANCE REYNOLDS was employed by the FDOC as a correctional officer

  assigned to the Security 9 team at SFRC.

         9.      Y.O. 1 was a youthful offender housed in Quad One of Bravo Dormitory.



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               10.     Y.O. 2 was a youthful offender housed in Quad One of Bravo Dormitory.

               11.     Y. 0. 3 was a youthful offender housed in Quad One of Bravo Dormitory on March

       27, 2017, and was transferred to Echo Dormitory on March 28, 2017.

                                               COUNT ONE
                                 (Conspiracy against Rights: 18 U.S.C. § 241)

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I              1.      Paragraphs one through eleven of the General Allegations section are re-alleged

       and incorporated by reference as though fully set forth herein.
II             2.      From on or about March 27, 2017, and continuing through on or about March 28,



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       2017, in Miami-Dade County, in the Southern District of Florida and elsewhere, the defendant,

                                         TERRANCE REYNOLDS,
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       and Brendan Butler, while acting under color of law, willfully combined, conspired, and agreed

       with each other, to injure, oppress, threaten, and intimidate Youthful Offender inmates being held

       at the South Florida Reception Center, including Y.O. 1, Y.O. 2, and Y.O. 3, in the free exercise

       and enjoyment ofrights and privileges secured to them by the Constitution and laws of the United

       States, namely the right to be free from cruel and unusual punishment.

                                          Purpose of the Conspiracy

              The purpose of the conspiracy was to use excessive force and the threat of such force to

       physically assault and intimidate youthful offenders as punishment for conduct perceived to be

       unacceptably disruptive and disrespectful.

                                                    Overt Acts

              In furtherance of the conspiracy, and to accomplish its objectives, one or more of the co-

       conspirators committed at least one of the following overt acts, among others, in the Southern

       District of Florida:

               1.      On or about March 27, 2017, TERRANCE REYNOLDS talked to Brendan Butler


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      about going to Bravo Dormitory to address a problem concerning three Youthful Offenders who

      had been disrespectful that morning to the two female correctional officers assigned to work in

      Bravo Dormitory.

             2.      On or about March 27, 2017, TERRANCE REYNOLDS and Brendan Butler

      entered Quad One of Bravo Dormitory.

             3.      On or about March 27, 2017, TERRANCE REYNOLDS and Brendan Butler

      participated in a conversation with correctional officers assigned to Bravo Dormitory in order to

      learn the identities of the Youthful Offenders who had allegedly been disruptive that morning.

             4.      On or about March 27, 2017, TERRANCE REYNOLDS and Brendan Butler

      instructed Y.O. 1, Y.O. 2, and Y.O. 3 to walk to an area outside of Quad 1, then followed the three


l     Youthful Offenders and took them into the mop closet.




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             5.      On or about March 27, 2017, TERRANCE REYNOLDS and Brendan Butler

      forcibly assaulted Y.O. 1 inside the mop closet by striking Y.O. 1 with both a stick and their fists,

      causing bodily injury to Y.O. 1, while Y.O. 2 and Y.O 3 remained in the immediate vicinity.

             6.      On or about March 28, 2017, TERRANCE REYNOLDS and Brendan Butler

      agreed to visit Echo Dormitory to see Y.O. 3, who had been transferred from Bravo Dormitory

      earlier that day for being disrespectful to a correctional officer that morning.

             7.      On or about March 28, 2017, TERRANCE REYNOLDS and Brendan Butler took

      custody of Y.O. 3 at Echo Dormitory and told him to go into the disciplinary review room.

             8.      On or about March 28, 2017, while inside the disciplinary review room,

      TERRANCE REYNOLDS and Brendan Butler told Y.O. 3 they knew that Y.O. 3 had been

      talking about the previous day's assault on Y.O. 1 and had been disrespectful to a correctional

      officer that morning.


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                 9.      On or about March 28, 2017, while inside the disciplinary review room,

         TERRANCE REYNOLDS and Brendan Butler forcibly assaulted Y.O. 3 by taking turns

         punching him, causing bodily injury.

                 All in violation of Title 18, United States Code, Section 241.

                                                   COUNT TWO
                            (Deprivation of Rights Under Color of Law: 18 U.S.C. § 242)

                 1.      Paragraphs one through eleven of the General Allegations section are re-alleged

         and incorporated by reference as though fully set forth herein.

                 2.     On or about March 27, 2017, in Miami-Dade County, in the Southern District of

         Florida, the defendant,

                                                TERRANCE REYNOLDS,

         while acting under color of law, assaulted Y.O. 1, thereby willfully depriving Y.O. 1 of the right,

         secured and protected by the Constitution and the laws of the United States, to be free from cruel

         and unusual punishment by a person acting under color of law.            Specifically, TERRANCE

         REYNOLDS assaulted Y.O. 1 with a dangerous weapon by striking Y.0.1 about the body with a

         stick, resulting in bodily injury to Y.O. 1.

                All in violation of Title 18, United States Code, Section 242.

                                                COUNT THREE
                           (Deprivation of Rights Under Color of Law: 18 U.S. C. § 242)

                 1.     Paragraphs one through eleven of the General Allegations section are re-alleged

         and incorporated by reference as though fully set forth herein.

                2.      On or about March 28, 2017, in Miami-Dade County, in the Southern District of

         Florida, the defendant,

                                                TERRANCE REYNOLDS,




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  while acting under color of law, assaulted Y.O. 3, thereby willfully depriving Y.O. 3 of the right,

  secured and protected by the Constitution and the laws of the United States, to be free from cruel

  and unusual punishment by a person acting under color of law. This assault resulted in bodily

  injury to Y.O. 3.

         All in violation of Title 18, United States Code, Section 242.

                                          COUNT FOUR
                      (False Statement to a Federal Agency: 18 U.S.C. § 1001)

         1.      Paragraphs one through eleven of the General Allegations section are re-alleged

  and incorporated by reference as though fully set forth herein.

         2.      On or about December 21, 2017, in Broward County, in the Southern District of

  Florida, in a matter within the jurisdiction of the Federal Bureau of Investigation, an agency of the

  executive branch of the United States Government, the defendant,

                                        TERRANCE REYNOLDS,

  did knowingly and willfully make a false, fictitious, and fraudulent statement and representation

  as to a material fact, in that the defendant, upon being advised of the allegations surrounding the

  March 27, 2017 physical altercation involving Y.O. 1 within the Bravo Dormitory mop closet,

  stated that he had never witnessed a beating in the mop closet when, in truth and in fact, and as the

  defendant then and there well knew, he had witnessed a beating in the mop closet.

         All in violation of Title 18, United States Code, Section 1001.

                                           COUNT FIVE
                      (False Statement to a Federal Agency: 18 U.S.C. § 1001)

         1.      Paragraphs one through eleven of the General Allegations section are re-alleged

  and incorporated by reference as though fully set forth herein.

         2.      On or about December 21, 2017, in Broward County, in the Southern District of



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      Florida, in a matter within the jurisdiction of the Federal Bureau oflnvestigation, an agency of the

      executive branch of the United States Government, the defendant,

                                           TERRANCE REYNOLDS,

      did knowingly and willfully make a fal se, fictitious, and fraudulent statem ent and representation

      as to a material matter, in that the defendant, upon being advised of the allegations surrounding

      the March 28, 20 17 altercation with Y.O. 3 at Echo Donnitory, stated that he was not present at

      Echo Dormitory on March 28, 2017, and had no contact with Y .O. 3 on that date when, in truth

      and in fact, and as the defendant then and there well knew, he was present at Echo Dormitory on

      March 28, 2017, and had contact with Y.O. 3 on that date.

             All in violation of Title 18, United States Code, Section 1001.


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      Respectfully Submitted,




                                                           ERIC S. DREIBAND
                                                           ASSIST ANT A ITORNEY GENERAL
                                                           U.S. DEPARTMENT OF JUSTICE
                                                           CIV     G   S DIVISION




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                                               UNITED ST ATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF FLORIDA

    UNITED STATES OF AMERICA                           CASE NO.
    v.
                                                       CERTIFICATE OF TRIAL ATTORNEY*
    TERRANCE REYNOLDS,
                                  Defendant.           Superseding Case Information:


    Court Division:    (Select One)                    New Defendant(s)                    YesO
                                                       Number of New Defendants
         I./ IMiami        D       Key West            Total number of counts
         D FTL             D       WPB 0FTP
             I do hereby certify that:

             I.       I have carefully considered the allegations of the indictment, the number of defendants, the number
                      of probable witnesses and the legal complexities of the Indictment/Information attached hereto.



I
             2.       I am aware that the information supplied on this statement will be relied upon by the Judges of this
                      Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                      Act, Title 28 U.S.C. Section 3161.
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             3.       Interpreter:    (Yes or No)      NO
                      List language and/or dialect

             4.       This case will take      _1_0_   days for the parties to try.
             5.       Please check appropriate category and type of offense listed below:

                      (Check only one)                                  (Check only one)




                                                              ~                                  ~
             I        0 to 5 days                                        Petty
             II       6 to IO days                                       Minor
             III      11 to 20 days                                      Misdem.
             IV       21to60 days                                        Felony
             v        61 days and over

             6.        Has this case been previously filed in this District Court? (Yes or No)    No
             If yes:
             Judge:                                              Case No.
             (Attach copy of dispositive order)
             Has a complaint been filed in this matter?          (Yes or No)      No
             If yes:
             Magistrate Case No.
             Related Miscellaneous numbers:
             Defendant(s) in federal custody as of
             Defendant(s) in state custody as of
             Rule 20 from the District of
             Is this a potential death penalty case? (Yes or No)           No


             7.




    *Penalty Sheet(s) attached                                                                     SATTORNEY


                                                                                                               REV 4/8/08
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                        PENALTY SHEET

  Defendant's Name: TERRANCE REYNOLDS



  Count#: 1

  Conspiracy against Rights

  Title 18 United States Code Section 241

  *Max. Penalty: 10 years' Imprisonment

  Count#: 2-3

  Deprivation of Rights Under Color of Law

  Title 18 United States Code Section 242

  *Max. Penalty: 10 years' Imprisonment

  Count#: 4-5

  False Statement to a Federal Agency

  Title 18, United States Code, Section 1001

  Max. Penalty: 5 years' Imprisonment




  * Refers only to possible term of incarceration, does not include possible fines, restitution,
   special assessments, parole terms, or forfeitures that may be applicable.
